      Case 1:23-cv-01329-CCC-WIA Document 93 Filed 07/29/24 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JASMINE MALSEED,                            :   CIVIL ACTION NO. 1:23-CV-1329
                                            :
                    Plaintiff               :   (Judge Conner)
                                            :
             v.                             :
                                            :
PENBROOK BOROUGH, et al.,                   :
                                            :
                    Defendants              :

                                       ORDER

      AND NOW, this 29th day of July, 2024, upon consideration of plaintiff

Jasmine Malseed’s motion (Doc. 64) for a protective order pursuant to Federal Rule

of Civil Procedure 26(c), 1 and further upon consideration of the parties’ briefs in

support thereof and in opposition thereto, (see Docs. 69, 72, 74, 78), wherein

Malseed argues that, inter alia, her education records are not relevant to any claims

or defenses in this case, (see Doc. 69 at 9-19; see also id. at 18 (noting she amended

her complaint and removed certain claims to negate any potential relevance)), and

wherein defendants Penbrook Borough and Officer Isaac Tritt contend that

Malseed’s high school records relating to her grades, attendance, and disciplinary

history are relevant because they “could bear on” her non-economic damages and

credibility, (see Doc. 72 at 5-15 (quoting Schiavone v. Luzerne County, 343 F.R.D.


      1
         On June 11, 2024, the court conducted a telephone conference with the
parties to resolve issues that arose during Malseed’s deposition. (See Doc. 81). The
court instructed defense counsel to state the contested questions on the deposition
record and that Malseed need not answer them for now but may be deposed in the
future if the court denies her pending motion. The court further instructed
Malseed’s counsel to subpoena the education records and submit them to the court
for in camera review.
      Case 1:23-cv-01329-CCC-WIA Document 93 Filed 07/29/24 Page 2 of 3




34, 38 (M.D. Pa. 2023))), and wherein defendants Susquehanna Township, Sergeant

Aaron Osman, and Officer Ryan Lindsley assert that Malseed’s education records

should be produced because she was in high school at the time of incident and any

impact on her school performance may shed light on her claims that she

experienced subsequent difficulties at work, (see Doc. 74 at 2-5), 2 and the court

observing Rule 26 provides that a party “may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case,” FED. R. CIV. P. 26(b)(1); see also id.

(information “need not be admissible in evidence to be discoverable”), and that “the

federal rules allow broad and liberal discovery,” see Pacitti v. Macy’s, 193 F.3d 766,

777 (3d Cir. 1999), but that “[t]he court may, for good cause, issue an order to

protect a party or person from annoyance, embarrassment, oppression, or undue

burden or expense,” see FED. R. CIV. P. 26(c)(1), and, following an in camera review

of Malseed’s education records, the court observing that they comprise limited

academic records, standardized test scores, and brief descriptions of minor

disciplinary actions some of which resulted in detention, none of which implicate

the claims or defenses in the underlying matter, insofar as Malseed’s amended

complaint contains no allegations that defendants’ conduct impacted her academic

performance, attendance, or disciplinary history, (see Doc. 71), and the court

concluding that, to the extent the records have any, limited relevance, there is good


      2
       Malseed argues that this claim is substantively false because she was out of
high school when the incident in question occurred. (See Doc. 78 at 9). Our in
camera review of Malseed’s education records confirms that she had been out of
high school for more than a year at the time of the incident.


                                            2
     Case 1:23-cv-01329-CCC-WIA Document 93 Filed 07/29/24 Page 3 of 3




cause to protect them from disclosure due to Malseed’s legitimate privacy interests,

as recognized in the Family Educational Rights and Privacy Act of 1974 (“FERPA”),

20 U.S.C. § 1232g; see Lei Ke v. Drexel Univ., No. 11-6708, 2014 WL 1100179, at *5

(E.D. Pa. Mar. 20, 2014) (collecting cases and explaining that courts may need to

limit disclosure of relevant documents given “the strong public policy of protecting

the privacy of student records” embodied in FERPA), it is hereby ORDERED that:

      1.     Malseed’s motion (Doc. 64) for a protective order is GRANTED.

      2.     Defendants may not subpoena Malseed’s education records and may
             not inquire into matters relating to said records during any witness’s
             deposition or trial testimony.


                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner
                                       United States District Court
                                       Middle District of Pennsylvania
